Case
 Case3:06-cv-00056-MMD-CSD
       1:23-mc-00073-CKK-MAUDocument 1216-2
                              Document  1-6 Filed
                                             Filed08/20/22
                                                   07/28/23 Page
                                                             Page106 of 89
                                                                   1 of 194
Case
 Case3:06-cv-00056-MMD-CSD
       1:23-mc-00073-CKK-MAUDocument 1216-2
                              Document  1-6 Filed
                                             Filed08/20/22
                                                   07/28/23 Page
                                                             Page107 of 89
                                                                   2 of 194
Case
 Case3:06-cv-00056-MMD-CSD
       1:23-mc-00073-CKK-MAUDocument 1216-2
                              Document  1-6 Filed
                                             Filed08/20/22
                                                   07/28/23 Page
                                                             Page108 of 89
                                                                   3 of 194
          Case
           Case3:06-cv-00056-MMD-CSD
                 1:23-mc-00073-CKK-MAUDocument 1216-2
                                        Document  1-6 Filed
                                                       Filed08/20/22
                                                             07/28/23 Page
                                                                       Page109 of 89
                                                                             4 of 194




           1100 Glendon Avenue | 14th Floor
           Los Angeles, CA 90024.3503
           main: 310.500.3500
           dir: 310.500.3614
           fax: 310.500.3501




Notice of Privilege/Confidentiality Privileged and Confidential information may be contained in this message. If you are not the
addressee indicated in this message (or Responsible for delivery of the message to such person), you may not copy or deliver this
message to anyone. In such case, you should destroy this message and kindly notify the sender by reply email. Please advise
immediately if you or your employer does not consent to Internet email for messages of this kind. Opinions, conclusions and other
information in this message that do not relate to the official business of my firm shall be understood as neither given nor endorsed
by it.

IRS Circular 230 Disclosure: To ensure compliance with Treasury Department Regulations, we advise you that, unless otherwise
expressly indicated, any federal tax advice contained in this communication was not intended or written to be used, and cannot be
         Case
          Case3:06-cv-00056-MMD-CSD
                1:23-mc-00073-CKK-MAUDocument 1216-2
                                       Document  1-6 Filed
                                                      Filed08/20/22
                                                            07/28/23 Page
                                                                      Page110 of 89
                                                                            5 of 194
used, for the purpose of (i) avoiding tax-related penalties under the Internal Revenue Code or applicable state or local tax law
provisions or (ii) promoting, marketing or recommending to another party any tax-related matter addressed herein.
Case
 Case3:06-cv-00056-MMD-CSD
       1:23-mc-00073-CKK-MAUDocument 1216-2
                              Document  1-6 Filed
                                             Filed08/20/22
                                                   07/28/23 Page
                                                             Page111 of 89
                                                                   6 of 194
Case
 Case3:06-cv-00056-MMD-CSD
       1:23-mc-00073-CKK-MAUDocument 1216-2
                              Document  1-6 Filed
                                             Filed08/20/22
                                                   07/28/23 Page
                                                             Page112 of 89
                                                                   7 of 194
Case
 Case3:06-cv-00056-MMD-CSD
       1:23-mc-00073-CKK-MAUDocument 1216-2
                              Document  1-6 Filed
                                             Filed08/20/22
                                                   07/28/23 Page
                                                             Page113 of 89
                                                                   8 of 194
Case
 Case3:06-cv-00056-MMD-CSD
       1:23-mc-00073-CKK-MAUDocument 1216-2
                              Document  1-6 Filed
                                             Filed08/20/22
                                                   07/28/23 Page
                                                             Page114 of 89
                                                                   9 of 194
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page115
                                                                10 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page116
                                                                11 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page117
                                                                12 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page118
                                                                13 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page119
                                                                14 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page120
                                                                15 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page121
                                                                16 of 194
                                                                      89


From:             Eisenberg, Joseph
To:               Terry, Billie
Cc:               Dennis
Subject:          FW: Review of former counsel files at Liner firm by United States
Date:             Monday, May 24, 2010 1:08:10 PM
Attachments:      Liner Document Inventory.pdf
                  Liner Hard Drive Inventory.pdf
                  Liner CD Inventory.pdf




-----Original Message-----
From: Gomez, Raphael (CIV) [mailto:Raphael.Gomez@usdoj.gov]
Sent: Monday, May 24, 2010 12:57 PM
To: Ellyn S. Garofalo; Kathleen Goldberg; Eisenberg, Joseph; Michael
Flynn
Cc: Wells, Carlotta (CIV); Raya, Sharon M. (CIV)
Subject: Review of former counsel files at Liner firm by United States

Counsel,

As we orally have informed you, the United States has conducted an
initial review of the 210 boxes of former counsel files at the Liner
firm. All 210 boxes of materials, minus the documents and media pulled
for further security review, require no further review by the United
States.

Please find attached an inventory of the hard copies, hard drives, and
CD's/DVD's that have been pulled from boxes 101 through 210 (please note
that the first 100 boxes were discovery produced by eTreppid to
Montgomery in the eTreppid case and were released by the United States
in late January 2010).

We will forward a projected date for completion of the review of the
pulled hard copies, hard drives and CD's/DVD's.

If you have any questions, please email or call.

Raphael Gomez
Carlotta Wells

202 514-1318
202 514-4522
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page122
                                                                            17 of 194
                                                                                  89


                           CD No.                                   ADDITIONAL INFO
                                                  BOX 101
                     CD - 000001
                     CD - 000002
                     CD - 000003
                     CD - 000004                                         DVD
                     CD - 000005
                     CD - 000006
                     CD - 000007
                     CD - 000008
                     CD - 000009
                     CD - 000010
                     CD - 000011                                         DVD
                     CD - 000012                                         DVD
                     CD - 000013
                     CD - 000014
                     CD - 000015                                         DVD
                     CD - 000016                                         DVD
                     CD - 000017                                         DVD
              CD - 000018 *Microsoft XP
          CD - 000019 *Dancing w/ the stars                              DVD
          CD - 000020 *Dancing w/ the stars                              DVD
                     CD - 000021
                     CD - 000022
                     CD - 000023                                         DVD
                     CD - 000024                                         DVD
                     CD - 000025                                         DVD
                     CD - 000026                                         DVD
                     CD - 000027                                         DVD
                     CD - 000028                                         DVD
                     CD - 000029                                         DVD
                     CD - 000030                                         DVD
                     CD - 000031                                         DVD
                     CD - 000032
                     CD - 000033
                     CD - 000034                                         DVD
                     CD - 000035
                     CD - 000036
                     CD - 000037
                     CD - 000038                                         DVD
                     CD - 000039                                         DVD
                     CD - 000040
                     CD - 000041
                     CD - 000042                                         DVD
                     CD - 000043                                         DVD
                     CD - 000044                                         DVD
                     CD - 000045

* - Will be reviewed before copying           CD INVENTORY PAGE 1              DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page123
                                                                            18 of 194
                                                                                  89


                       CD - 000046
                       CD - 000047
                       CD - 000048
                       CD - 000049
                       CD - 000050
                       CD - 000051
                       CD - 000052
                       CD - 000053                            DVD
                       CD - 000054
                       CD - 000055                            DVD
                       CD - 000056                            DVD
                       CD - 000057
                       CD - 000058
                       CD - 000059                            DVD
                       CD - 000060                            DVD
                       CD - 000061                            DVD
                       CD - 000062
                       CD - 000063                            DVD
                       CD - 000064                            DVD
                       CD - 000065                            DVD
                       CD - 000066                            DVD
                       CD - 000067                            DVD
                       CD - 000068
                       CD - 000069
                       CD - 000070                            DVD
                       CD - 000071                            DVD
                       CD - 000072                            DVD
                       CD - 000073                            DVD
                       CD - 000074
                       CD - 000075
                       CD - 000076                            DVD
                       CD - 000077                            DVD
                       CD - 000078                            DVD
                       CD - 000079                            DVD
                       CD - 000080
                       CD - 000081
                       CD - 000082
                       CD - 000083
                       CD - 000084
                       CD - 000085                            DVD
                       CD - 000086                            DVD
                       CD - 000087                            DVD
                       CD - 000088                            DVD
                       CD - 000089
                       CD - 000090
                       CD - 000091                            DVD
                       CD - 000092

* - Will be reviewed before copying   CD INVENTORY PAGE 2           DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page124
                                                                            19 of 194
                                                                                  89


                        CD - 000093                           DVD
                        CD - 000094                           DVD
                        CD - 000095                           DVD
                        CD - 000096                           DVD
                        CD - 000097                           DVD
                        CD - 000098
                        CD - 000099
                        CD - 000100                           DVD
                        CD - 000101                           DVD
                        CD - 000102
                        CD - 000103                           DVD
                        CD - 000104                           DVD
                        CD - 000105                           DVD
                        CD - 000106                           DVD
                        CD - 000107                           DVD
                        CD - 000108                           DVD
                        CD - 000109                           DVD
                        CD - 000110                           DVD
                        CD - 000111                           DVD
                        CD - 000112                           DVD
                        CD - 000113                           DVD
                        CD - 000114                           DVD
                        CD - 000115
                        CD - 000116                           DVD
                        CD - 000117                           DVD
                        CD - 000118
                        CD - 000119
                        CD - 000120                           DVD
                        CD - 000121                           DVD
                        CD - 000122
                        CD - 000123
                        CD - 000124
                        CD - 000125
                        CD - 000126
                        CD - 000127
                        CD - 000128
                        CD - 000129
                        CD - 000130
                        CD - 000131
                        CD - 000132
                        CD - 000133                           DVD
                        CD - 000134
                        CD - 000135
                        CD - 000136
                        CD - 000137
                        CD - 000138
                        CD - 000139

* - Will be reviewed before copying   CD INVENTORY PAGE 3           DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page125
                                                                            20 of 194
                                                                                  89


                        CD - 000140
                        CD - 000141
                        CD - 000142
                        CD - 000143
                        CD - 000144
                        CD - 000145
                        CD - 000146
                        CD - 000147
                        CD - 000148
                        CD - 000149
                        CD - 000150
                        CD - 000151
                        CD - 000152
                        CD - 000153
                        CD - 000154
                        CD - 000155
                        CD - 000156
                        CD - 000157
                        CD - 000158
                        CD - 000159
                        CD - 000160
                        CD - 000161
                        CD - 000162
                        CD - 000163
                        CD - 000164
                        CD - 000165
                        CD - 000166
                        CD - 000167
                        CD - 000168
                        CD - 000169
                        CD - 000170
                        CD - 000171
                        CD - 000172
                        CD - 000173
                        CD - 000174
                        CD - 000175
                        CD - 000176
                        CD - 000177
                        CD - 000178
                        CD - 000179
                        CD - 000180
                        CD - 000181
                        CD - 000182
                        CD - 000183
                        CD - 000184
                        CD - 000185
                        CD - 000186

* - Will be reviewed before copying   CD INVENTORY PAGE 4         DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page126
                                                                            21 of 194
                                                                                  89


                        CD - 000187
                        CD - 000188
                        CD - 000189
                        CD - 000190
                        CD - 000191
                        CD - 000192
                        CD - 000193
                        CD - 000194
                        CD - 000195
                        CD - 000196
                        CD - 000197
                        CD - 000198
                        CD - 000199                               DVD
                        CD - 000200                               DVD
                        CD - 000201                               DVD
                                                BOX - 105
               CD - 000223 *Fire Connect
                      CD - 000224
                      CD - 000225
                      CD - 000226
           CD - 000227 *Dark City (Movie)                         DVD
         CD - 000228 *School of Rock (Movie)                      DVD
          CD - 000229 *Lost in Trans (Movie)                      DVD
        CD - 000230 *After the Sunset (Movie)                     DVD
                      CD - 000231                                 DVD
                      CD - 000232                                 DVD
                      CD - 000233                                 DVD
                      CD - 000234                                 DVD
                      CD - 000235                                 DVD
               CD - 000236 *Windows XP
                      CD - 000237                                 DVD
                      CD - 000238                                 DVD
               CD - 000239 *Sync master
              CD - 000240 * Windows XP
                      CD - 000241                                 DVD
        CD - 000242 *Video Capture Software
               CD - 000243 *Windows XP
                      CD - 000244                                 DVD
        CD - 000245 *Video Capture Software
               CD - 000246 *Windows XP
                      CD - 000247                                 DVD
                      CD - 000248                                 DVD
                      CD - 000249                                 DVD
                      CD - 000250                                 DVD
                      CD - 000251
                      CD - 000252                                 DVD
                      CD - 000253                                 DVD

* - Will be reviewed before copying         CD INVENTORY PAGE 5         DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page127
                                                                            22 of 194
                                                                                  89


                        CD - 000254
                        CD - 000255
                        CD - 000256                              DVD
                        CD - 000257                              DVD
                        CD - 000258                              DVD
                        CD - 000259
                        CD - 000260                              DVD
                        CD - 000261                              DVD
                        CD - 000262                              DVD
                        CD - 000263                              DVD
                        CD - 000264                              DVD
                        CD - 000265
                        CD - 000266                              DVD
                        CD - 000267
                        CD - 000268                              DVD
                        CD - 000269                              DVD
                        CD - 000270                              DVD
                        CD - 000271                              DVD
                        CD - 000272
                        CD - 000273
                        CD - 000274                              DVD
                        CD - 000275                              DVD
                        CD - 000276
                        CD - 000277
                                               BOX 106
                        CD - 000219
                                               BOX 114
                     CD - 000278
                     CD - 000279                                 DVD
                     CD - 000280
                     CD - 000281                                 DVD
                     CD - 000282
           CD - 000283* (IBM Commercial)
                     CD - 000284
                     CD - 000285
                     CD - 000286
                     CD - 000287
                     CD - 000288                                 DVD
                     CD - 000289
                     CD - 000290
                     CD - 000291
                     CD - 000292
                     CD - 000293
                     CD - 000294
                     CD - 000295
                     CD - 000296
                CD - 000297* (Adobe)

* - Will be reviewed before copying        CD INVENTORY PAGE 6         DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page128
                                                                            23 of 194
                                                                                  89


                    CD - 000298
                    CD - 000299
                    CD - 000300
                    CD - 000301
                    CD - 000302
                    CD - 000303
                    CD - 000304
                    CD - 000305                                   DVD
                    CD - 000306
                    CD - 000307
                    CD - 000308
                CD - 000309* (Music)
               CD - 000310* (Win 95)
                    CD - 000311
                    CD - 000312
                    CD - 000313
                    CD - 000314
                    CD - 000315                                   DVD
                    CD - 000316
               CD - 000317* (WIN 95)
                    CD - 000318                                   DVD
                    CD - 000319
                    CD - 000320
                    CD - 000321
                    CD - 000322
                    CD - 000323
          CD - 000324* (Old Windows Upd.)
                    CD - 000325
                    CD - 000326
                    CD - 000327
                    CD - 000328
              CD - 000329* (Elvis pt. 2)
                    CD - 000330
                    CD - 000331
                    CD - 000332
                    CD - 000333
                    CD - 000334
                    CD - 000335
                    CD - 000336
                    CD - 000337
                    CD - 000338
                    CD - 000339
                    CD - 000340
                    CD - 000341
                    CD - 000342
                    CD - 000343
                    CD - 000344

* - Will be reviewed before copying         CD INVENTORY PAGE 7         DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page129
                                                                            24 of 194
                                                                                  89


                     CD - 000345
                     CD - 000346
                     CD - 000347
                     CD - 000348
                     CD - 000349
                     CD - 000350
                     CD - 000351
                     CD - 000352
                     CD - 000353
                     CD - 000354
                     CD - 000355
                     CD - 000356
                     CD - 000357
                     CD - 000358                                     DVD
                     CD - 000359
        CD - 000360** (Unreadable 360-370)                           DVD
                     CD - 000361
                     CD - 000362
                     CD - 000363
                     CD - 000364
                     CD - 000365
                     CD - 000366
                     CD - 000367                                     DVD
                     CD - 000368
                     CD - 000369
                   CD - 000370**
           CD - 000371* (Dolby Test Files)
                     CD - 000372
            CD - 000373* (Kodak Frames)
         CD - 000374* (Partition Magic 8.02)
                     CD - 000375
                  CD - 000376* (HP)                                  DVD
                 CD - 000377* (ADP)
                     CD - 000378
                     CD - 000379                                     DVD
                     CD - 000380
               CD - 000381* (Win XP)
                     CD - 000382
                     CD - 000383                                     DVD
           CD - 000384* (Mic Office 2003)
               CD - 000385* (Mic XP)
          CD - 000386* (Dancing w/ Stars)                            DVD
          CD - 000387* (Dancing w/ Stars)                            DVD
                     CD - 000388                                     DVD
                     CD - 000389
                     CD - 000390
                     CD - 000391                                     DVD

* - Will be reviewed before copying            CD INVENTORY PAGE 8         DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page130
                                                                            25 of 194
                                                                                  89


                     CD - 000392                                   DVD
                     CD - 000393                                   DVD
                     CD - 000394
                     CD - 000395
              CD - 000396* (Symantec)
                CD - 000397* (Mic XP)
                     CD - 000398                                   DVD
           CD - 000399* (Mic Office 2003)
                CD - 000400* (Mic XP)
           CD - 000401* (Dancing w/ Stars)                         DVD
           CD - 000402* (Dancing w/ Stars)                         DVD
                     CD - 000403                                   DVD
                     CD - 000404
                     CD - 000405
                     CD - 000406                                   DVD
                     CD - 000407                                   DVD
                     CD - 000408                                   DVD
                     CD - 000409
                     CD - 000410
              CD - 000411* (Symantec)
            CD - 000412* (Microsoft XP)
                     CD - 000413                                   DVD
           CD - 000414* (Mic Office 2003)
                CD - 000415* (Mic XP)
           CD - 000416* (Dancing w/ Stars)                         DVD
           CD - 000417* (Dancing w/ Stars)                         DVD
                     CD - 000418                                   DVD
                     CD - 000419
                     CD - 000420
                     CD - 000421                                   DVD
                     CD - 000422                                   DVD
                     CD - 000423                                   DVD
                     CD - 000424
                     CD - 000425
               CD - 000426*(Symantec)
                CD - 000427* (Mic XP)
                                                 BOX 117
                        CD - 000220
                                                 BOX 131
                        CD - 000217
                                                 BOX 145
                        CD - 000218
                                                 BOX 165
                        CD - 000431
                        CD - 000432
                                                 BOX 180
                        CD - 000221

* - Will be reviewed before copying          CD INVENTORY PAGE 9         DOJ Security Office Boxes 1-3
      Case
       Case3:06-cv-00056-MMD-CSD    Document
                                LINER
            1:23-mc-00073-CKK-MAU      FILES: CD1216-2
                                      Document     1-6 Filed 08/20/22
                                                 INVENTORY   07/28/23 Page
                                                                       Page131
                                                                            26 of 194
                                                                                  89


                                          BOX 181
                        CD - 000202
                        CD - 000203
                        CD - 000204
                        CD - 000205                           DVD
                        CD - 000206                           DVD
                        CD - 000207
                        CD - 000208                           DVD
                        CD - 000209
                        CD - 000210
                        CD - 000211
                        CD - 000212                           DVD
                        CD - 000213                           DVD
                        CD - 000214
                        CD - 000215
                        CD - 000216
                        CD - 000430                           DVD
                                          BOX 188-1
                        CD - 000222
                                          BOX 189
                       CD - 000428
                                          BOX 190
                       CD - 000429
                                          BOX 207
                        CD - 000433
                        CD - 000434
                        CD - 000435




* - Will be reviewed before copying   CD INVENTORY PAGE 10          DOJ Security Office Boxes 1-3
                                              LINER FILES: DOCUMENT INVENTORY

 Present   BOX   CONTENTS       DESCRIPTION                                     RELEASED   PULL DETAILS
   N/A        1 DISCOVERY       N/A                                                Y
   N/A        2 DISCOVERY       N/A                                                Y
                                                                                                          Case




   N/A        3 DISCOVERY       N/A                                                Y
   N/A        4 DISCOVERY       N/A                                                Y
   N/A        5 DISCOVERY       N/A                                                Y
   N/A        6 DISCOVERY       N/A                                                Y
   N/A        7 DISCOVERY       N/A                                                Y
   N/A        8 DISCOVERY       N/A                                                Y
   N/A       9 DISCOVERY        N/A                                                Y
   N/A      10 DISCOVERY        N/A                                                Y
   N/A      11 DISCOVERY        N/A                                                Y
   N/A      12 DISCOVERY        N/A                                                Y
                                                                                                           Case3:06-cv-00056-MMD-CSD




   N/A      13 DISCOVERY        N/A                                                Y
   N/A      14 DISCOVERY        N/A                                                Y
   N/A      15 DISCOVERY        N/A                                                Y
   N/A      16 DISCOVERY        N/A                                                Y
                                                                                                                1:23-mc-00073-CKK-MAU Document




   N/A      17 DISCOVERY        N/A                                                Y
                                                                                                                                        Document




   N/A      18 DISCOVERY        N/A                                                Y
   N/A      19 DISCOVERY        N/A                                                Y
                                                                                                                                               1216-2




   N/A      20 DISCOVERY        N/A                                                Y
   N/A      21 DISCOVERY        N/A                                                Y
   N/A      22 DISCOVERY        N/A                                                Y
   N/A      23 DISCOVERY        N/A                                                Y
   N/A      24 DISCOVERY        N/A                                                Y
   N/A      25 DISCOVERY        N/A                                                Y
                                                                                                                                                 1-6 Filed 08/20/22




   N/A      26 DISCOVERY        N/A                                                Y
   N/A       27 DISCOVERY       N/A                                                Y
   N/A       28 DISCOVERY       N/A                                                Y
                                                                                                                                                           07/28/23 Page




   N/A       29 DISCOVERY       N/A                                                Y
                                                                                                                                                                     Page132




   N/A       30 DISCOVERY       N/A                                                Y
   N/A       31 DISCOVERY       N/A                                                Y
                                                                                                                                                                                89




   N/A       32 DISCOVERY       N/A                                                Y
                                                                                                                                                                          27 of 194




   N/A       33 DISCOVERY       N/A                                                Y



DOJ Security Office Boxes 1-3                   DOCUMENT INVENTORY PAGE 1
                                      LINER FILES: DOCUMENT INVENTORY

   N/A      34 DISCOVERY        N/A                                     Y
   N/A      35 DISCOVERY        N/A                                     Y
   N/A      36 DISCOVERY        N/A                                     Y
                                                                            Case




   N/A      37 DISCOVERY        N/A                                     Y
   N/A      38 DISCOVERY        N/A                                     Y
   N/A      39 DISCOVERY        N/A                                     Y
   N/A      40 DISCOVERY        N/A                                     Y
   N/A      41 DISCOVERY        N/A                                     Y
   N/A      42 DISCOVERY        N/A                                     Y
   N/A      43 DISCOVERY        N/A                                     Y
   N/A      44 DISCOVERY        N/A                                     Y
   N/A      45 DISCOVERY        N/A                                     Y
   N/A      46 DISCOVERY        N/A                                     Y
                                                                             Case3:06-cv-00056-MMD-CSD




   N/A      47 DISCOVERY        N/A                                     Y
   N/A      48 DISCOVERY        N/A                                     Y
   N/A      49 DISCOVERY        N/A                                     Y
   N/A      50 DISCOVERY        N/A                                     Y
                                                                                  1:23-mc-00073-CKK-MAU Document




   N/A      51 DISCOVERY        N/A                                     Y
                                                                                                          Document




   N/A      52 DISCOVERY        N/A                                     Y
   N/A      53 DISCOVERY        N/A                                     Y
                                                                                                                 1216-2




   N/A      54 DISCOVERY        N/A                                     Y
   N/A      55 DISCOVERY        N/A                                     Y
   N/A      56 DISCOVERY        N/A                                     Y
   N/A      57 DISCOVERY        N/A                                     Y
   N/A      58 DISCOVERY        N/A                                     Y
   N/A      59 DISCOVERY        N/A                                     Y
                                                                                                                   1-6 Filed 08/20/22




   N/A      60 DISCOVERY        N/A                                     Y
   N/A      61 DISCOVERY        N/A                                     Y
   N/A      62 DISCOVERY        N/A                                     Y
                                                                                                                             07/28/23 Page




   N/A      63 DISCOVERY        N/A                                     Y
                                                                                                                                       Page133




   N/A      64 DISCOVERY        N/A                                     Y
   N/A      65 DISCOVERY        N/A                                     Y
                                                                                                                                                  89




   N/A      66 DISCOVERY        N/A                                     Y
                                                                                                                                            28 of 194




   N/A      67 DISCOVERY        N/A                                     Y



DOJ Security Office Boxes 1-3           DOCUMENT INVENTORY PAGE 2
                                                                  LINER FILES: DOCUMENT INVENTORY

   N/A      68 DISCOVERY        N/A                                                                 Y
   N/A      69 DISCOVERY        N/A                                                                 Y
   N/A      70 DISCOVERY        N/A                                                                 Y
                                                                                                        Case




   N/A      71 DISCOVERY        N/A                                                                 Y
   N/A      72 DISCOVERY        N/A                                                                 Y
   N/A      73 DISCOVERY        N/A                                                                 Y
   N/A      74 DISCOVERY        N/A                                                                 Y
   N/A      75 DISCOVERY        N/A                                                                 Y
   N/A      76 DISCOVERY        N/A                                                                 Y
   N/A      77 DISCOVERY        N/A                                                                 Y
   N/A      78 DISCOVERY        N/A                                                                 Y
   N/A      79 DISCOVERY        N/A                                                                 Y
   N/A      80 DISCOVERY        N/A                                                                 Y
                                                                                                         Case3:06-cv-00056-MMD-CSD




   N/A      81 DISCOVERY        N/A                                                                 Y
   N/A      82 DISCOVERY        N/A                                                                 Y
   N/A      83 DISCOVERY        N/A                                                                 Y
   N/A      84 DISCOVERY        N/A                                                                 Y
                                                                                                              1:23-mc-00073-CKK-MAU Document




   N/A      85 DISCOVERY        N/A                                                                 Y
                                                                                                                                      Document




   N/A      86 DISCOVERY        N/A                                                                 Y
   N/A      87 DISCOVERY        N/A                                                                 Y
                                                                                                                                             1216-2




   N/A      88 DISCOVERY        N/A                                                                 Y
   N/A      89 DISCOVERY        N/A                                                                 Y
   N/A      90 DISCOVERY        N/A                                                                 Y
   N/A      91 DISCOVERY        N/A                                                                 Y
   N/A      92 DISCOVERY        N/A                                                                 Y
   N/A      93 DISCOVERY        N/A                                                                 Y
                                                                                                                                               1-6 Filed 08/20/22




   N/A      94 DISCOVERY        N/A                                                                 Y
   N/A      95 DISCOVERY        N/A                                                                 Y
   N/A      96 DISCOVERY        N/A                                                                 Y
                                                                                                                                                         07/28/23 Page




   N/A      97 DISCOVERY        N/A                                                                 Y
                                                                                                                                                                   Page134




   N/A      98 DISCOVERY        N/A                                                                 Y
   N/A      99 DISCOVERY        N/A                                                                 Y
                                                                                                                                                                              89




   N/A     100 DISCOVERY        N/A                                                                 Y
                                                                                                                                                                        29 of 194




                                1 Pull:
   N/A     101 OTHER                                                                                Y
                                Pull 1: CDs that appear to be discovery materials


DOJ Security Office Boxes 1-3                                         DOCUMENT INVENTORY PAGE 3
                                                                   LINER FILES: DOCUMENT INVENTORY

   N/A     102 OTHER            N/A                                                                  Y
                                4 Pulls:
                                Pull 1: 6/19/06 Flynn Email (001-005)
   YES     103 OTHER            Pull 2: 7/19/06 Flynn Email (001-004)                                N
                                                                                                         Case




                                Pull 3: 8/14/06 Flynn Email (001-014)
                                Pull 4: 9/26/06 Mongtomery Email (001-016)

   YES     104 OTHER            1 Pull:                                                              N
                                Pull 1: 3/1/06 Flynn Ltr (001-008)
   N/A     105 OTHER            Hard drives and CDs                                                  N
                                1 Pull:
   N/A     106 OTHER                                                                                 Y
                                Pull 1: CD
                                6 Pulls:
                                Pull 1: 3/11/06 Dec of Flynn (001-004);
                                Pull 2: 3/11/06 Dec of Flynn (001-004);
   YES     107 PLEADINGS                                                                             y
                                                                                                          Case3:06-cv-00056-MMD-CSD




                                Pull 3: 4/3/06 Reply Memo (001-029);
                                Pull 4: 4/21/08 Reply Memo (001-035);
                                Pull 5: 3/11/06 Dec of Flynn (001-006);
                                Pull 6: 4/3/06 Reply Memo (001-029)
                                2 Pulls:
                                Pull 1:Flynn Declaration (001-007)
   YES     108 PLEADINGS                                                                             Y
                                                                                                               1:23-mc-00073-CKK-MAU Document




                                Pull 2: 3/17/07 Email (001-002)
                                                                                                                                       Document




                                2 Pulls:
   YES     109 OTHER            Pull 1: 2/26/07 Email (001);                                         Y
                                                                                                                                              1216-2




                                Pull 2: 2/13/07 Email (001)
   N/A     110 OTHER            N/A                                                                  Y
   N/A     111 OTHER            N/A                                                                  Y
   N/A     112 OTHER            N/A                                                                  Y
                                5 Pulls:
                                Pull 1: 2/13/07 Email (001-009);
                                                                                                                                                1-6 Filed 08/20/22




                                Pull 2: 2/26/07 Email (001-004);
   YES     113 OTHER                                                                                 N
                                Pull 3: 3/16/07 Email (001-012);
                                Pull 4: 3/16/07 Email (001-008);
                                                                                                                                                          07/28/23 Page




                                Pull 5: 3/24/07 Email (001-003)
  N/A      114 OTHER            CDs for review                                                       N
                                                                                                                                                                    Page135




  N/A      115 PLEADINGS        N/A                                                                  Y
  N/A      116 OTHER            Hard drives                                                          N
                                                                                                                                                                               89
                                                                                                                                                                         30 of 194




DOJ Security Office Boxes 1-3                                        DOCUMENT INVENTORY PAGE 4
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page136
                                                                31 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page137
                                                                32 of 194
                                                                      89
                                                                  LINER FILES: DOCUMENT INVENTORY

                                4 Pulls:
                                Pull 1: 7/5/06 Email (001);
                                                                                                                                                               Pull 1: 001-022
   YES     136 OTHER            Pull 2: Contract Documents (001-010);                                                             Y
                                                                                                                                                               Pull 2:
                                Pull 3: Negroponte Questions (001-005)
                                                                                                                                                                                 Case




                                Pull 4: Montgomery Declaration (001-022)
                                3 Pulls:
                                Pull 1: 4/10/06 Park Email (001-004);
                                                                                                                                                               Pull 2: 001-004
   YES     137 OTHER            Pull 2: 3/11/06 Flynn Declaration -Unsigned- (001-004)                                            Y
                                                                                                                                                               Pull 3: 001-029
                                Pull 3: Reply Memo for Return of Property (001-029)

   YES     138 PLEADINGS        N/A                                                                                               Y


                                                                                                        Pull 15: Complaint for violation of false claims act
                                30 Pulls:
                                                                                                        Draft-5 (001-046);
                                Pull 1: 2/2007 Flynn Declaration (001-016);
                                                                                                        Pull 16: Complaint for violation of false claims act
                                Pull 2: 2/2007 Montgomery Declaration (001-009;
                                                                                                                                                                                  Case3:06-cv-00056-MMD-CSD




                                                                                                        Draft-6 (001-046);
                                Pull 3: 2/26/2007 Email (001);
                                                                                                        Pull 17: Flynn Declaration (001-004);
                                Pull 4: 2/13/2007 Email (001-003);
                                                                                                        Pull 18: Flynn Declaration (001-006);
                                Pull 5: 2/2007 Montgomery Declaration (001-005);
                                                                                                        Pull 19: Motion to Unseal (001-017);
                                Pull 6: 2/2007 Montgomery Declaration (001-006);
                                                                                                        Pull 20: Flynn Declaration (001-012);
                                Pull 7: 2/2007 Flynn Declaration in Supp of Montgomery Opp. to Govt
                                                                                                                                                                                       1:23-mc-00073-CKK-MAU Document




                                                                                                        Pull 21: Flynn Declaration (001-011);
                                Motion to Strike (001-018);
                                                                                                        Pull 22: Negroponte Questions (001-009);
                                                                                                                                                                                                               Document




                                Pull 8: 2/2007 Montgomery Declaration 2 copies -Unsigned-(001-019);
                                                                                                        Pull 23: Negroponte Questions (001-006);
                                Pull 9: 3/2007 Email Chain (001-011);
                                                                                                        Pull 24: Negroponte Questions (001-004);
                                                                                                                                                                                                                      1216-2




   YES     139 OTHER            Pull 10: 3/16/07 Email (001-004);
                                                                                                        Pull 25: Negroponte Questions (001-004);
                                Pull 11: Complaint for violation of false claims act Draft-1 (001-046);
                                                                                                        Pull 26: 2/9/07 Flynn Ltr (001-005);
                                Pull 12: Complaint for violation of false claims act Draft-2 (001-047);
                                                                                                        Pull 27: 2/9/07 Flynn Ltr (001-005);
                                Pull 13: Complaint for violation of false claims act Draft-3 (001-044);
                                                                                                        Pull 28: 2/9/07 Flynn Ltr (001-003);
                                Pull 14: Complaint for violation of false claims act Draft-4 (001-040);
                                                                                                        Pull 29: 3/24/07 Email (001-002)
                                                                                                        Pull 30: 1/2007 Montgomery Declaration (001-007)
                                                                                                                                                                                                                        1-6 Filed 08/20/22




                                                                                                                                            N
                                                                                                                                                                                                                                  07/28/23 Page
                                                                                                                                                                                                                                            Page138    89
                                                                                                                                                                                                                                                 33 of 194




DOJ Security Office Boxes 1-3                                         DOCUMENT INVENTORY PAGE 7
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page139
                                                                34 of 194
                                                                      89
                                                                    LINER FILES: DOCUMENT INVENTORY

   N/A     156 PLEADINGS        N/A                                                                   Y
   N/A     157 PLEADINGS        N/A                                                                   Y
                                6 Pulls:
                                                                                                          Case




                                Pull 1: 4/13/07 Flynn Ltr (001-018);
                                Pull 2: 2/9/07 Flynn Ltr (001-010);
   YES     158 OTHER            Pull 3: 6/22/06 Flynn Email (001-002);                                Y
                                Pull 4: 6/22/06 Flynn Email (001-002);
                                Pull 5: 3/1/06 Flynn Ltr (001-013);
                                Pull 6: 7/26/06 Flynn Ltr (001-007)
  N/A      159 PLEADINGS        N/A                                                                   Y
  N/A      160 OTHER            N/A                                                                   Y
  N/A      161 PLEADINGS        N/A                                                                   Y
  N/A      162 DISCOVERY        N/A                                                                   Y
  N/A      163 PLEADINGS        N/A                                                                   Y
                                                                                                           Case3:06-cv-00056-MMD-CSD




                                1 Pull:
   YES     164 OTHER                                                                                  Y
                                Pull 1: 4/13/07 Flynn Ltr. (001-009)
                                2 Pulls:
                                Pull 1: CD With Document Attached (001)
   YES     165 OTHER                                                                                  Y
                                Pull 2: CD With Document Attached (001-030)
                                                                                                                1:23-mc-00073-CKK-MAU Document




                                3 Pulls:
                                                                                                                                        Document




                                Pull 1: DM2845-2886 (001-042);
   YES     166 OTHER                                                                                  Y
                                Pull 2: DM2987-2998 (001-012);
                                                                                                                                               1216-2




                                Pull 3: DM3145-3151 (001-007)
  N/A      167 OTHER            N/A                                                                   Y
  N/A      168 PLEADINGS        N/A                                                                   Y
  N/A      169 OTHER            N/A                                                                   Y
  N/A      170 OTHER            N/A                                                                   Y
                                1 Pull:
   YES     171 OTHER                                                                                  Y
                                Pull 1: Draft Flynn Ltr (001-008)
                                                                                                                                                 1-6 Filed 08/20/22




                                1 Pull:
   YES     172 OTHER                                                                                  Y
                                Pull 1: Potential witness list with handwritten notations (001-002)
                                                                                                                                                           07/28/23 Page




   N/A     173 PLEADINGS        N/A                                                                   Y
                                4 Pulls:
                                                                                                                                                                     Page140




                                Pull 1: 2/27/07 Dec of Flynn(001-037);
   YES     174 PLEADINGS        Pull 2: 6/2/06 Dec of Michael West (001-008);                         Y
                                                                                                                                                                                89




                                Pull 3: 06-cv-0263 Dkt# 125 Transcript (001-085);
                                                                                                                                                                          35 of 194




                                Pull 4: 3/3/06 Dec of Michael West (001-014)
  N/A      175 PLEADINGS        N/A                                                                   Y


DOJ Security Office Boxes 1-3                                         DOCUMENT INVENTORY PAGE 9
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page141
                                                                36 of 194
                                                                      89
                                                                  LINER FILES: DOCUMENT INVENTORY

   N/A     203 OTHER            Hard drives                                                           N
   N/A     204 OTHER            N/A                                                                   Y
                                8 Pulls:
                                                                                                                            Case




                                Pull 1: 4/10/06 Email (001-004);
                                Pull 2: 10/31/07 Email (001-002);
                                Pull 3: 3/16-18/07 Email chain (001-004);
                                Pull 4: 3/16-18/07 Email chain (001-007);
   YES     205 OTHER            Pull 5: 3/16-18/07 Email chain (001-007);                             Y
                                Pull 6: 6/23/07 Email (001);
                                Pull 7: 3/11/06 Dec of Montgomery for Return of Property -Unsigned-
                                & 4/3/06 Reply Memo un Support of Motion for Return of Property
                                (001-033);
                                Pull 8: 3/11/06 Dec of Flynn; (001-004)
  N/A      206 OTHER            N/A                                                                   Y
                                6 Pulls:
                                                                                                                             Case3:06-cv-00056-MMD-CSD




                                Pull 1: 2 CDs
                                Pull 2: Cover sheet and Index of Emails in “Inbox” (001-0038)
                                Pull 3: Index of Emails in “Sent” (001-015)
   YES     207 PLEADINGS                                                                              Y
                                Pull 4: 1 CD
                                Pull 5: Index of Emails in “Inbox” (001-037)
                                                                                                                                  1:23-mc-00073-CKK-MAU Document




                                Pull 6: Index of Emails in “Sent” (001-016)
                                                                                                                                                          Document




   N/A     208 OTHER            N/A                                                                   Y
                                                                                                                                                                 1216-2




                                3 Pulls:
                                Pull 1: Sealed Montgomery Declaration (001-036)
   YES     209 PLEADINGS                                                                              Y   Pull 3: 001-022
                                Pull 2: Working Chronology (001-014)
                                Pull 3: Sealed Montgomery Declaration (001-022)
  N/A      210 OTHER            Hard drives                                                           N
                                                                                                                                                                   1-6 Filed 08/20/22
                                                                                                                                                                             07/28/23 Page
                                                                                                                                                                                       Page142    89
                                                                                                                                                                                            37 of 194




DOJ Security Office Boxes 1-3                                        DOCUMENT INVENTORY PAGE 11
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page143
                                                                38 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page144
                                                                39 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page145
                                                                40 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page146
                                                                41 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page147
                                                                42 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page148
                                                                43 of 194
                                                                      89
     Case
      Case3:06-cv-00056-MMD-CSD
           1:23-mc-00073-CKK-MAU Document 1216-2
                                   Document 1-6 Filed 08/20/22
                                                      07/28/23 Page
                                                                Page149
                                                                     44 of 194
                                                                           89
                         Dennis Lee Montgomery                     -        November 18, 2010
                UNITED STATES BANKRUPTCY COURT                    1           For the United States of America:
                CENTRAL DISTRICT OF CALIFORNIA
                                                                  2               U.S. DEPARTMENT OF JUSTICE

     In re: Dennis and Kathleen    )                              3               CIVIL DIVISION
     Montgomery                    )                              4               BY:     CARLOTTA P. WELLS, Senior Counsel
                                   )
                                                                  5               Federal Programs Branch
     Michael J. Flynn,             )
                                   )                              6               20 Massachusetts Avenue, NW
                  Plaintiff,       )                              7               Room 7150
                                   )                              8               Washington, DC     20530
                    vs.            ) Case No.: 2:10-bk-18510-bb
                                   )
                                                                  9               (202) 514-4522
     Dennis Lee Montgomery and     )                              10          Also Present:
     Brenda Kathleen Montgomery,   )                              11              Michael J. Flynn, Esq.
                                   )
                                                                  12              Sharon Raya, Paralegal to Ms. Wells
                  Defendants.      )
     ______________________________)                              13              Tom (last name withheld), U.S. Government
                                                                  14              Morgan (last name withheld), U.S.
                                                                  15              Government
                                                                  16          Videographer:
       Videotaped Deposition of:   DENNIS LEE MONTGOMERY          17              Jesse Navarro, Orravan Video Litigation
       Date:                       November 18, 2010
                                                                  18              Services
       Reported by:                Stephanie P. Borthwick
                                   C.S.R. No. 12088               19
                                                                  20
                                                                  21
                                                                  22
                                                                  23
                                                                  24
                                                                  25

                                                                                                                        Page 3

1          Deposition of DENNIS LEE MONTGOMERY, taken on          1                               INDEX
2    behalf of the Plaintiff, before Stephanie P.                 2
3    Borthwick, a Certified Shorthand Reporter,                   3    Deposition of DENNIS LEE MONTGOMERY
4    commencing at the hour of 9:20 a.m., Thursday,               4           Taken on November 18, 2010
5    November 18, 2010, at the offices of Yates Court             5
6    Reporters, 74967 Sheryl Avenue, Palm Desert,                 6    Examination By:                                     Page
7    California.                                                  7    MR. CONANT                                             24
8    APPEARANCES:                                                 8
9          For the Plaintiff:                                     9    Information Requested:
10               CONANT LAW, LLC                                  10          (None)
11               Attorneys at Law                                 11
12               BY:   CHRISTOPHER J. CONANT, ESQ.                12   Questions Instructed Not to Answer:          Page Line
13               730 17th Street                                  13   Q.    Has your attorney, to your               45       3
14               Suite 200                                        14         knowledge, been in contact with any
15               Denver, Colorado     80202                       15         agency of the United States
16               (303) 298-1800                                   16         government concerning your personal
17         For the Defendants:                                    17         property that's listed on these
18               DION-KINDEM & CROCKETT                           18         schedules?
19               Attorneys at Law                                 19   Q.    Is it your testimony,                    46       9
20               BY:   WILLIAM E. CROCKETT, ESQ.                  20         Mr. Montgomery, that you have no
21               LNR Warner Center                                21         personal property that falls within
22               21271 Burbank Boulevard                          22         the description of this paragraph
23               Suite 100                                        23         here on page 22-9?
24               Woodland Hills, California      91367-6667       24   ///
25               (818) 883-4400                                   25   ///
                                                        Page 2                                                          Page 4

                                                                                                     1 (Pages 1 to 4)
                              YATES COURT REPORTERS                            800.669.1866
     Case
      Case3:06-cv-00056-MMD-CSD
           1:23-mc-00073-CKK-MAU Document 1216-2
                                   Document 1-6 Filed 08/20/22
                                                      07/28/23 Page
                                                                Page150
                                                                     45 of 194
                                                                           89
                         Dennis Lee Montgomery                     -      November 18, 2010
 1     21        19-page Wells Fargo PMA                    306    1   because to do so would violate the terms of the
 2               Package of Istvan Burgyan,                        2   United States protective order, which all the
 3               Bates Nos. 00552-70                               3   parties to the bankruptcy proceeding have agreed to.
 4     22        Five pages of Istvan Burgyan's             309    4            MR. CROCKETT:    Bill Crockett on behalf of
 5               bank records, Bates                               5   Dennis Montgomery.
 6               Nos. 00943-47                                     6            THE WITNESS:     Dennis Montgomery.
 7     23        Two-page Bank of America                   312    7            THE VIDEOGRAPHER:       Would the court reporter
 8               statement of Istvan Burgyan,                      8   please swear in the witness.
 9               Bates Nos. 00933-34                               9            THE REPORTER:    Please raise your right
10     24        One page of photocopied                    313   10   hand.
11               documents including a                            11            Do you solemnly state under penalty of
12               cashier's check paid to                          12   perjury that the testimony you will give in this
13               Caesar's Casino and Wells                        13   matter will be the truth, the whole truth, and
14               Fargo Bank records.                              14   nothing but the truth?
15     25        18 pages of MontBleu Resort                315   15            THE WITNESS:    Yes.
16               Memo Reports                                     16            THE REPORTER:     Thank you.
17     26        Three-pages of win/loss                    324   17            MR. CONANT:     Okay.   Thank you.
18               documents                                        18            Before we start examining the witness, I
19     27        37 pages of Customer                       328   19   want to state for the record that there are present
20               Transaction Inquiries                            20   in the room four representatives from the U.S.
21     28        11 pages of miscellaneous                  330   21   Government, two of which apparently have no last
22               casino documents                                 22   name.
23   ///                                                          23            We'll ask on the record of Ms. Wells to
24   ///                                                          24   provide their last names and the government agency
25   ///                                                          25   that they purportedly work for.

                                                        Page 13                                                            Page 15

 1              THE VIDEOGRAPHER:    Good morning.   Here          1            MS. WELLS:     And I cannot, because to do so
2    begins Media No. 1 in the video deposition of Dennis          2   would violate the terms of the United States
3    Lee Montgomery in the matter of Michael J. Flynn              3   protective order.
4    versus Dennis Lee Montgomery, et al., in the                  4            MR. CONANT:     Ms. Wells, do you have a copy
5    United States Bankruptcy Court of California, Case            5   of the protective order in front of you?
6    No. 2:10-bk-18510-bb.                                         6            MS. WELLS:     I do.    Do you have one?
7               Today's date is November 18th, 2010.      The      7            MR. CONANT:     I have a copy in front of me.
8    time is 9:20 a.m.    This deposition is being taken at        8   I'd like to actually get it admitted as an exhibit
9    74967 Sheryl Avenue, Palm Desert, California, and             9   in this deposition.
10   was made at the request of Mr. Christopher Conant of         10            Let me -- while I work on getting extra
11   the law offices of Conant Law, LLC.                          11   copies to admit as an exhibit, Ms. Wells, can you
12              The videographer is Jesse Navarro here on         12   review the protective order and identify which
13   behalf of Orravan Video Litigation Services,                 13   specific portion of the protective order you're --
14   Indian Wells, California.                                    14            MS. WELLS:     Am I a witness now?     All I can
15              Would counsel and all present please              15   tell you is it's pretty self-evident from the face
16   identify yourselves and state whom you represent.            16   of the United States protective order what's
17              MR. CONANT:    Christopher Conant for the         17   protected, what isn't
                                                                                       isn't.
18   plaintiff, Michael J. Flynn.                                 18            The information that's protected is set
19              MR. FLYNN:    And Michael J. Flynn in             19   forth in paragraphs 2 and paragraphs 3.
20   persona.                                                     20            MR. CONANT:     How does those pertain
21              MS. WELLS:    Carlotta Wells on behalf of the     21   specifically to the identities of these gentlemen
22   United States and with the United States Department          22   and why they're here today?
23   of Justice.    Sharon Raya is with me from my office.        23            MS. WELLS:     I think it's self-evident and
24   With me, also, are Morgan and Tom, who are with the          24   if you want to read those paragraphs into the
25   government and I can't disclose anything further             25   record, feel free to.

                                                        Page 14                                                            Page 16

                                                                                         4 (Pages 13 to 16)
                                YATES COURT REPORTERS                          800.669.1866
     Case
      Case3:06-cv-00056-MMD-CSD
           1:23-mc-00073-CKK-MAU Document 1216-2
                                   Document 1-6 Filed 08/20/22
                                                      07/28/23 Page
                                                                Page151
                                                                     46 of 194
                                                                           89
                         Dennis Lee Montgomery                 -      November 18, 2010
 1            MR. CONANT:   I don't -- well --                 1   reviewed in connection with your meeting with Judge
 2            MS. WELLS:    Paragraphs 2 and 3 of the          2   Pro that were -- that originated from my client
 3   United States protective order, which is                  3   Michael Flynn?
 4   Document 253, District of Nevada Case File 30656.         4             MS. WELLS:    This is not the subject of this
 5            MR. CONANT:   Ms. Wells, who is making the       5   deposition.   We're not here to talk about this.        If
 6   decision regarding what is -- why these gentleman         6   Mr. Flynn wants to have a conversation with me about
 7   are here?                                                 7   this we can have it, but it's not appropriate for
 8            Who in the government made a decision why        8   the record.
9    these gentlemen are here?    Who in the government        9             MR. CONANT:    It is appropriate for the
10   made a decision for these two gentlemen to be here       10   record.   You are --
11   today?                                                   11             MS. WELLS:    It does -- what does that have
12            MS. WELLS:    This particular deposition is     12   to do with the information we're here to protect
13   being handled in the manner that all information         13   now?   The long and the short of it is that there
14   related to this case has been handled.    It's been a    14   were documents, as you know, from the Order that the
15   joint decision between those attorneys representing      15   court in Montana sent to Judge Pro.
16   the United States' interests and the agencies whose      16             He asked the United States to take a look
17   information we're protecting.                            17   at them to determine the extent to which there's
18            That's all I'm going to say.                    18   information that may or may not be protected under
19            MR. CONANT:    Were these gentleman at all      19   the United States protective order.
20   involved in any way in the litigation in Nevada?         20             Upon the limited review that we did in his
21            MS. WELLS:    I'm not going to go any further   21   chambers yesterday, we determined that there was
22   than what I've already said.                             22   enough of a question there that we need to take the
23            MR. CONANT:    Were you meeting with Judge      23   documents back with us to Washington to do a more
24   Pro in the U.S. District Court for the district of       24   thorough review.   That's it.
25   Nevada yesterday?                                        25             MR. CONANT:    What documents did you review?

                                                   Page 17                                                           Page 19

 1            MS. WELLS:    At Judge Pro's insistence, yes.    1             MS. WELLS:    The documents that the court in
 2   We met with him in his chambers yesterday.                2   Montana sent.
 3            MR. CONANT:   Who is "we"?                       3             MR. CONANT:    What documents were those?
 4            MS. WELLS:    The people representing the        4             MS. WELLS:    I didn't take a list.    It's not
 5   United States Department of Justice and the United        5   a very big -- it's a small pile, not even an inch
 6   States in this case.                                      6   thick.
 7            MR. CONANT:   Who were those?   I'm asking       7             MR. FLYNN:    This is Michael Flynn.    I'm
8    for the identities, Ms. Wells.                            8   going to put a statement on the record.
9             MS. WELLS:    All I'm saying is that people      9             The documents that were given to David
10   from the government met with him and I mean it           10   Cotner, counsel for the trustee in the Montana
11   actually -- if you really need to know, it was the       11   bankruptcy proceeding, were very limited and I
12   four of us here.                                         12   specifically reviewed them before giving them to
13            MR. CONANT:    Did Judge Pro -- when did        13   Cotner.
14   Judge Pro contact you to meet with him?                  14             They were apparently subsequently given to
15            MS. WELLS:    I'm not going to say anything     15   Judge Kirscher and they had all been previously
16   more other than we're complying with the terms of        16   reviewed by the federal government, Department of
17   the order that Judge Pro entered, I believe it was       17   Justice, and approved.     And except for the Sandoval
18   October 30th, and we were there because of that          18   complaint, they are publicly on file in the Nevada
19   order.                                                   19   District Court and can be picked up online.
20            MR. CONANT:    What order?                      20             So unless documents were added that I don't
21            MS. WELLS:    Let's see.                        21   know about -- and I don't know about any of the
22            It was the order dated October 28th, 2010,      22   documents, I don't have the identity of the
23   Docket No. 1172, same case, Montgomery versus            23   documents that were given to Judge Kirscher or
24   eTreppid Technology.                                     24   subsequently conveyed to Judge Pro -- there are no
25            MR. CONANT:    Were there any documents         25   documents that do not comply with the US protective

                                                   Page 18                                                           Page 20

                                                                                      5 (Pages 17 to 20)
                             YATES COURT REPORTERS                          800.669.1866
     Case
      Case3:06-cv-00056-MMD-CSD
           1:23-mc-00073-CKK-MAU Document 1216-2
                                   Document 1-6 Filed 08/20/22
                                                      07/28/23 Page
                                                                Page152
                                                                     47 of 194
                                                                           89
                         Dennis Lee Montgomery                 -      November 18, 2010
1    order in any way.                                         1   here from the US government, two of who, apparently,
2            So if either documents were added by              2   have no last names and are from some unidentified
3    someone or there has been a change in the position        3   agency with the government.
4    of the Department of Justice with regard to the           4             And for the record, Ms. Wells is not
5    scope of the protective order, then there is nothing      5   indicating how their involvement is at all
6    in any of the documents given to Cotner, apparently       6   implicated in the protective order.     The protective
7    passed on to Judge Kirscher, which would violate the      7   order only governs issues concerning intelligence
8    terms of the U.S. protective order.                       8   agencies as defined in the National Security Act and
9            MR. CONANT:     Do you have a copy, Ms. Wells,    9   we have no indication of what agencies these
10   of the letter or whatever communication there was        10   gentlemen are with and whether they're with an
11   between Judge Kirscher and Judge Pro?                    11   intelligence agency or whether it's an
12           MS. WELLS:    No.                                12   administrative branch of the government that's not
13           MR. CONANT:     Who at the government have you   13   included within the National Security Act as an
14   been talking to regarding the matter involving the       14   intelligence agency.
15   letter from Judge Kirscher to Judge Pro?                 15             So we simply don't know what is -- what is
16           MS. WELLS:    I'm not here to answer these       16   purportedly being protected by the protective order
17   questions.   I'm here to enforce the terms of the        17   or not.
18   United States protective order and only people with      18             MR. FLYNN:    We think -- at this juncture
19   the United States have that authority and the            19   I'll put on the record that I believe -- I didn't
20   ability to determine what's protected and what isn't     20   believe it during the Nevada proceedings, I thought
21   and that's all we're here for.                           21   there were legitimate interests to be protected in
22           It's a very limited role that we're              22   terms of identities of intelligence agency
23   playing, it's a very limited role, and I can tell        23   individuals, but at this point I believe that the
24   you on the record that what we're doing here today       24   Department of Justice has gone far beyond that and
25   is entirely consistent with what we've done ever         25   is now using, under the guise of national security

                                                    Page 21                                                         Page 23

1    since we first got involved in this case and ever         1   for reasons related to the facts that I put in the
2    since Judge Pro acknowledged there was information        2   emails to you, Carlotta, has gone far beyond the
3    to be protected.                                          3   scope of national security in an effort to cover up
4            That's all I'm going to say and I'll keep         4   or conceal the fraudulent activities of
5    saying the same thing over and over again.                5   Mr. Montgomery as I've repeatedly said in emails.
6            MR. FLYNN:    It's completely inaccurate.         6             So why don't we just start.
7    For the record, these gentlemen, however nice             7                          EXAMINATION
8    gentleman they may be, never participated and never       8   BY MR. CONANT:
9    appeared in courtrooms in any of the Nevada               9      Q.     Okay.   All right.   Turning to
10   proceedings, Ms. Wells, and you know it and I know       10   Mr. Montgomery.   Mr. Montgomery, let's start
11   it.                                                      11   something.
12           So this four-person deluge from the              12             Can you state your name for the record.
13   Department of Justice in Dennis Montgomery's             13       A.    Dennis Montgomery.
14   deposition is apparently being done for some reasons     14       Q.    What's your -- do you have a middle name?
15   completely extraneous to the materials in the            15       A.    Lee.
16   protective order, but why don't we get started.          16       Q.    Do you understand what it means to take a
17           MR. CONANT:     I just want to state one last    17   deposition, Mr. Montgomery?
18   thing for the record.    When I deposed Istvan Burgyan   18       A.    Yes.
19   in this very case on September 22nd, the U.S.            19       Q.    What do you understand that to mean?
20   Government showed no interest in this matter.            20       A.    You're going to ask me questions; I'm going
21           I had to call Mr. Gomez at his office in         21   to answer them.
22   D.C. halfway through the deposition, because there       22       Q.    Do you know -- do you understand that your
23   became an issue regarding the protective order.          23   testimony today is under the penalty of perjury?
24   Mr. Gomez was completely indifferent regarding this      24       A.    Yes.
25      e and now, for some reason, we have four people
     case                                                     25       Q.    Do you understand what that means?

                                                    Page 22                                                         Page 24

                                                                                      6 (Pages 21 to 24)
                             YATES COURT REPORTERS                          800.669.1866
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page153
                                                                48 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page154
                                                                49 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page155
                                                                50 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page156
                                                                51 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page157
                                                                52 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page158
                                                                53 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page159
                                                                54 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page160
                                                                55 of 194
                                                                      89
            Case
             Case3:06-cv-00056-MMD-CSD
                  1:23-mc-00073-CKK-MAU Document 1216-2
                                          Document 1-6 Filed 08/20/22
                                                             07/28/23 Page
                                                                       Page161
                                                                            56 of 194
                                                                                  89




Carl Cameron
Chief Political Correspondent
FOX NEWS CHANNEL
202-320-2105
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page162
                                                                57 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page163
                                                                58 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page164
                                                                59 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page165
                                                                60 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page166
                                                                61 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page167
                                                                62 of 194
                                                                      89
                                                                              1
                                 COMMITTEE SENSITIVE




         EXECUTIVE SESSION

         COMMITTEE ON THE JUDICIARY,

         JOINT WITH THE

         COMMITTEE ON GOVERNMENT REFORM AND OVERSIGHT,

         U.S. HOUSE OF REPRESENTATIVES,

         WASHINGTON, D.C.




         INTERVIEW OF:    JAMES A. BAKER (DAY 2)




                              Thursday, October 18, 2018



                                   Washington, D.C.




               The interview in the above matter was held in Room 2141, Rayburn

         House Office Building, commencing at 10:01 a.m.

               Present:   Representatives Meadows, Jordan, Ratcliffe, and

         Gaetz.




                                  COMMITTEE SENSITIVE
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page168
                                                                63 of 194
                                                                      89
                                                                                    5
                                     COMMITTEE SENSITIVE


         here.

                 Mr. Breitenbach.    Unlawful surveillance of whom?

                 Mr. Baker.     Of Americans, including government officials.

         Yeah.    I can go -- I mean --

                 Mr. Jordan.    Who was his client?

                 Mr. Baker.    Can I just -- I'm turning to the Bureau to describe

         this.    So his client was an individual named Dennis Montgomery, who

         I believe, to the best of my recollection, he said that he had been

         a U.S. Government contractor and, in the course of that work, had come

         across evidence of unlawful surveillance by the government of

         Americans -- and including government officials -- and wanted to give

         that information to the Bureau, which eventually did take place.

                 Mr. Jordan.    And was this -- I'm sorry.    Go ahead.

                 Mr. Sommers.    During what time period?

                 Mr. Jordan.    Yeah.   That's what I was going to ask.

                 Mr. Baker.     To the best of my recollection, it's in the late

         summer, early fall 2016.

                 Mr. Sommers.    And the surveillance, what time period was that?

                 Mr. Baker.    I'm not entirely sure what the timeframe was.   It was

         a significant -- it was -- one of the issues in the case was it was

         a large amount of data that he had that he wanted to provide, that

         these -- these disks or other media had a lot of data on them about

         this, allegedly.

                 Mr. Sommers.    Surveillance by whom?

                 Mr. Baker.     By the U.S. Government itself of Americans,


                                     COMMITTEE SENSITIVE
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page169
                                                                64 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page170
                                                                65 of 194
                                                                      89


From:            Dickas, J (Intelligence)
To:              Dennis (dennis@ncoder.net)
Subject:         RE: CIA
Date:            Thursday, September 18, 2014 5:18:50 PM



Hi Mr. Montgomery,

Apologies for the slow response, I was out of the office for a couple weeks. Based on my
examination of your case, it looks to me like the Department of Defense Inspector General is
actually best positioned to review your complaint that the work you performed for the government
was illegal or improper. If you are having a hard time bringing this issue to the DoD IG’s attention, I
believe Sen. Cantwell’s casework staff is in a good position to help you get in touch with them.
Hope that is helpful.

John

From: Dennis [mailto:dennis@ncoder.net]
Sent: Thursday, September 18, 2014 3:49 PM
To: Dickas, J (Intelligence)
Cc: Wolfe, J (Intelligence)
Subject: CIA

Would you at least give me the courtesy of acknowledging my email. I have limited ways
to communicate with you and your committee.

It has been over a year since you sent me this email below.

I have followed the proper channels to file my whistle blower complaints with the
intelligence community. I have been told to be patient. You made it clear in you August
16, 2013 email that you would like to help me but cautioned me about releasing sensitive
documents, which I have not done.

I am a American who has information regarding US government intelligence agencies
mass surveillance of Americans, that you may not have been aware of. At this point, I
will assume you have verified that I was working for companies that had contracts with
the CIA, DOD,DNI, HOMELAND SECURITY, as well as others.

I thought at one point you and your committee would help me move my whistleblower
complaints forward?

I have followed the rules you ask me to follow. I will cooperate fully with you other
members of your committee regarding information that is contained in the various
whistleblower complaints that I have filed with the Inspector General’s within the
intelligence community.

I am disabled, and have limited ways to communicate with you. I am trying to do the
right thing.

Please help me.

Dennis Montgomery
dennis@ncoder.net
619.508.1964
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page171
                                                                66 of 194
                                                                      89




From: Dickas, J (Intelligence) [j
Sent: Friday, August 16, 2013 12:51 PM
To: Dennis
Subject: RE: CIA

Hi Mr. Montgomery -

I would still recommend that you work with Senator Cantwell's casework staff to try to get a response
from the CIA Inspector General regarding your complaint. Have you tried to contact Senator Cantwell's
staff about this?

Also, you mentioned protections for whistleblower complaints - it is important to emphasize that such
protections have generally not been interpreted to cover disclosures of classified information through
improper channels. So I would strongly recommend that you not convey any classified information via
any unclassified modes of communication, or to any staff that do not have the necessary security
clearances. You seem to have been pretty careful not to do this so far, but some of your comments
make me concerned that you may be considering violating classification rules in the course of your
interactions with congressional staff, and many congressional staff (myself included) would feel
compelled to report the violation if you did so. I would definitely like to be helpful in getting your
concern addressed, but if you violate any laws regarding the protection of classified information I don't
think anyone in the legislative branch will be able to help or protect you.

Let me know if you need any help getting back in touch with Senator Cantwell's office, and have a
great weekend.

John


From: Dennis [dennis@ncoder.net]
Sent: 15 August 2013 00:29
To: Dickas, J (Intelligence)
Subject: CIA

This is not a complete list of individuals in Congress that had their personal data harvested. I just
wanted to give you some idea how wide spread it was. I would hope the information I have
provided to you and whoever you provide it to; is treated as information that being submitted as a
whistleblower complaint, and protected accordingly. I continue to try to look for “Proper Channels”
to go through in blowing the whistle on these illegal “document harvesting programs”, and the US
Government officials that were involved in these programs. This work was nothing more than the
US Government spying on US citizens, without their knowledge, consent or any court order.

I along with my family have been threatened, harassed, and when I wouldn’t agree to stop my effort
to whistle blow on the US Intelligence community, discredited. It is not fair for the US Government
to leak false information to the press in hopes of getting me to stop my whistle blowing campaign,
and when I attempt to defend myself, hold me to the State Secrets Privilege.

It is important to remember it was the government who came to me to do the work, not me going
to the government looking for work...
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page172
                                                                67 of 194
                                                                      89


I am just one US citizen that is trying to get the truth out if the face of insurmountable obstacles.

I appreciate all of your help.
Dennis Montgomery
dennis@ncoder.net
619.508.1964

From: Dennis [mailto:dennis@ncoder.net]
Sent: Wednesday, August 14, 2013 8:48 PM
To: 'Dickas, J (Intelligence)'
Subject: CIA

John, In the years I was involved with these programs the following individuals had data harvested
by the US Government, at least once. Over half this individuals have had their personal data
harvested more than twice. As you can see, the program did not discriminate based on political
party; 48 Democrats and 35 Republicans. Would you like me to provide more information? There
are tens of millions of records that were harvested.

I am sure I have already violated this State Secrets Privilege by disclosing this information, even
without disclosing what was actually harvested. Why wouldn’t the Inspector General of the DNI,
Inspector General of the DOJ, Inspector General of the Air Force, or the Inspector General of the
CIA want to get to the bottom of these disclosures and let me file a whistleblower complaint? I
suspect it has something to do with politics, James Clapper, John Brennan, and the other US
Government officials that were involved in this “illegal” data gathering effort and what they actually
used the data for.

How can the US Government classify this information as classified, secret, or top secret when these
individuals obviously had nothing to do with terrorism, like the other 10 million US Citizens that had
their personal information harvested, without their knowledge, consent, or court order under the
disguise of “national security.”

ADAM SMITH,CONGRESSMAN,D
ALCEE HASTINGS,CONGRESSMAN,D
BARBARA BOXER,SENATOR,D
BILL NELSON,SENATOR,D
BOB GOODLATTE,CONGRESSMAN,R
CARL LEVIN,SENATOR,D
CHARLES GRASSLEY,SENATOR,R
CHARLES SCHUMER,SENATOR,D
COLLIN PETERSON,CONGRESSMAN,D
DANNY DAVIS,CONGRESSMAN,D
DAVE CAMP,CONGRESSMAN,R
DAVID PRICE,CONGRESSMAN,D
DEREK KILMER,CONGRESSMAN,D
DIANNE FEINSTEIN,SENATOR,D
DONALD PAYNE,CONGRESSMAN,D
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page173
                                                                68 of 194
                                                                      89


ED PASTOR,CONGRESSMAN,D
EDDIE JOHNSON,CONGRESSMAN,D
EDWARD MARKEY,CONGRESSMAN,D
ELIJAH CUMMINGS,CONGRESSMAN,D
FRANK LUCAS,CONGRESSMAN,R
FRANK PALLONE,CONGRESSMAN,D
FRED UPTON,CONGRESSMAN,R
GENE GREEN,CONGRESSMAN,D
HARRY REID,SENATOR,D
HENRY CUELLAR,CONGRESSMAN,D
HOWARD COBLE,CONGRESSMAN,R
JACK KINGSTON,CONGRESSMAN,R
JAMES CLYBURN,CONGRESSMAN,D
JAMES INHOFE,SENATOR,R
JEB HENSARLING,CONGRESSMAN,R
JEFF MILLER,CONGRESSMAN,R
JEFF SESSIONS,SENATOR,R
JIM COOPER,CONGRESSMAN,D
JOE BARTON,CONGRESSMAN,R
JOHN BOEHNER,CONGRESSMAN,R
JOHN BOOZMAN,SENATOR,R
JOHN CONYERS,CONGRESSMAN,D
JOHN DELANEY,CONGRESSMAN,D
JOHN DUNCAN,CONGRESSMAN,R
JOHN LEWIS,CONGRESSMAN,D
JOHN MCCAIN,SENATOR,R
JOSE SERRANO,CONGRESSMAN,D
KAY GRANGER,CONGRESSMAN,R
LAMAR ALEXANDER,SENATOR,R
LAMAR SMITH,CONGRESSMAN,R
LEE TERRY,CONGRESSMAN,R
LEONARD LANCE,CONGRESSMAN,R
LORETTA SANCHEZ,CONGRESSMAN,D
MARCO RUBIO,SENATOR,R
MARK KIRK,SENATOR,R
MARK SANFORD,CONGRESSMAN,R
MARSHA BLACKBURN,CONGRESSMAN,R
MAX BAUCUS,SENATOR,D
MELVIN WATT,CONGRESSMAN,D
MICHAEL MICHAUD,CONGRESSMAN,D
MICHAEL TURNER,CONGRESSMAN,R
MIKE THOMPSON,CONGRESSMAN,D
MITCH MCCONNELL,SENATOR,R
PAT ROBERTS,SENATOR,R
PATRICK LEAHY,SENATOR,D
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page174
                                                                69 of 194
                                                                      89


PATTY MURRAY,SENATOR,D
PAUL RYAN,SENATOR,D
PETER DEFAZIO,CONGRESSMAN,D
RALPH HALL,CONGRESSMAN,R
RICHARD BURR,CONGRESSMAN,R
RICHARD DURBIN,SENATOR,D
RICK LARSEN,CONGRESSMAN,D
ROBERT ANDREWS,CONGRESSMAN,D
ROBERT MENENDEZ,SENATOR,D
RON WYDEN,SENATOR,D
ROSCOE BARTLETT,CONGRESSMAN,R
RUBEN HINOJOSA,CONGRESSMAN,D
SANDER LEVIN,CONGRESSMAN,D
SANFORD BISHOP,CONGRESSMAN,D
SAXBY CHAMBLISS,SENATOR,R
SHERROD BROWN,CONGRESSMAN,D
STEPHEN LYNCH,CONGRESSMAN,D
STEVE COHEN,CONGRESSMAN,D
SUSAN COLLINS,SENATOR,R
TIM RYAN,CONGRESSMAN,D
TOM COBURN,CONGRESSMAN,R
TOM HARKIN,SENATOR,D
TOM LATHAM,CONGRESSMAN,R

I appreciate all of your help.
Dennis Montgomery
dennis@ncoder.net
619.508.1964

From: Dickas, J (Intelligence) [mailto:J_Dickas@ssci.senate.gov]
Sent: Wednesday, August 14, 2013 10:57 AM
To: Dennis
Subject: RE: CIA


Hi Mr. Montgomery -

I would definitelyy not recommend simplyp y disclosing
                                                     g classified information publicly.
                                                                              p      y If you
                                                                                           y believe that
                                   y to do was illegal
the work that the CIA contracted you                   g or improper,
                                                                 p p , I would encourage  g you
                                                                                            y to keep   p
  y g to bring
trying       g it to the attention of the CIA Inspector
                                                   p       General. The CIA IG actually y has a fairly
                                                                                                     yggood
                        g   g issues like this,, and unlike the other Inspectors
track record of investigating                                            p       General that you have
previously contacted, the the CIA IG is well positioned to look into the matter.

If you have not yet received a response from the CIA IG, I would recommend contacting Senator
Cantwell's caseworker and asking for assistance. Congressional caseworkers are generally quite good at
getting government agencies to respond to constituent inquiries and concerns. And if you need any
help getting in touch with a caseworker, let me know and I'd be happy to help facilitate with Sen.
Cantwell's office.

John Dickas
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page175
                                                                70 of 194
                                                                      89



From: Dennis [dennis@ncoder.net]
Sent: 14 August 2013 11:00
To: Dickas, J (Intelligence)
Subject: CIA

I have to been unsuccessful with moving my whistleblower case forward within the US government.
I have been rejected by the Office of Special Counsel, the Inspector General of the DNI, and the
Inspector General of the DOJ. I provided my whistleblower complaint to the Inspector General of
the CIA, but have not heard back from them. I have sent faxes to them, asking them to just confirm
they have received my information. Still no response from Inspector General of the CIA.

I appreciate you dialog regarding the whistleblowers laws “currently in place as being inadequate.”
It seems like my only option now, is to release the information to the public, and let the public
investigate for themselves what has really gone on. This would expose both the inadequate
whistleblower laws regarding the intelligence community, the vast amount of data that was actually
harvested, and the US government officials that created, supervised, and abused the programs
under “the disguise” of national security or the “patriot act.”

The State Secrets Privilege was issued against me to “hide crimes” committed by former US
Government officials that worked on these information gathering programs. These programs are
now controlled by individuals that are currently in the highest government offices in our country
today. These programs gathered tens of millions of records of personal information that had
absolutely nothing to do with “national security”, without any court oversight. No one was exempt
from these “covert programs” including some of the members of the current congress; Ron
Wyden, John Boehner, Harry Reid, and many others.

According to current administration officials, Snowden did follow the correct protocol for
whistleblowing on US Government officials or “illegal data harvesting programs” within the
intelligence community. Given what I have gone through for the last 6 years, I doubt it would have
made much difference. There are no whistleblowing laws within the US Government intelligence
community, and the journey I have gone through only proves that.

I appreciate all of your help.
Dennis Montgomery
dennis@ncoder.net
619.508.1964



From: Dennis [mailto:dennis@ncoder.net]
Sent: Tuesday, August 13, 2013 3:20 PM
To: 'Dickas, J (Intelligence)'
Subject: CIA

The rejection of the whistleblower complaint rejection by the Inspector General Director of the DNI
doesn’t make since to me.
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page176
                                                                71 of 194
                                                                      89


All of the work that was done from 2008-2010 was done under secrecy at Fort Washington, MD,
and James Clapper. The program there was “document harvesting” information from millions of US
Citizens personal information. As I reported to you before, when I was working there, I saw
employees from CIA that I had worked with years earlier.

The work that was done at Fort Washington was under an Air Force and DNI contract. Given the fact
that James Clapper is the head of the DNI, and the work that was done at Fort Washington was
under his direct control, how could the Inspector General of the DNI, claim it is not under his
purview to investigate?

I have also included the rejection letter by the Office of Special Counsel. That office suggested I
contact my senators or congressman for help. Which I have done.

I have tried to go through the necessary steps to file my whistleblower complaint against US
government programs and officials with the correct US government agency. It has become obvious
to me, that US government individuals involved in these programs, don’t want these investigations
to move.

Dennis Montgomery
dennis@ncoder.net
619.508.1964




From: Dickas, J (Intelligence) [mailto:J_Dickas@ssci.senate.gov]
Sent: Tuesday, August 13, 2013 2:35 PM
To: Dennis
Subject: RE: CIA

Mr. Montgomery -

I definitelyy agree
               g                    g
                    that the intelligence  whistleblower laws currentlyy in place
                                                                            p              q
                                                                                  are inadequate.   I do think
                           p
that the IG that is best positioned                y
                                       to address your               y
                                                        concern that your                             g and/or
                                                                            work for the CIA was illegal     /
   p p is the CIA IG. If the CIA IG has not responded
improper                                              p          y
                                                              to your         p to communicate with them,
                                                                       attempts
Senator Cantwell's casework staff might be able to help you get in touch with them.

John


From: Dennis [dennis@ncoder.net]
Sent: 13 August 2013 16:52
To: Dickas, J (Intelligence)
Subject: CIA

I filed a whistleblower complaint with the Inspector General of the DOJ, and sent a copy of it to the
Attorney General Eric Holder and the Deputy Attorney General, James Cole. The whistleblower
complaint was against the two DOJ attorneys and the FBI Special Agent that were involved in the
illegal raid on my home and property. I just received a rejection letter by the Inspector General of
the DOJ, who referred it to the FBI. This is the same FBI that the judge has already ruled had
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page177
                                                                72 of 194
                                                                      89


already violated my 4th Amendment rights in the first place.

The DOJ doesn’t want me to provide them information regarding the illegal document harvesting
programs that were run by the intelligence community, against American citizens in this country.
They are hiding behind the State Secrets Privilege to “conceal the crimes” and the government
officials that were involved in these programs.

The Inspector General of the DNI has also refused to investigate my whistleblower against James
Clapper and the DNI. They had determined it was not under their purview.

It doesn’t seem like a whistleblower process really exists in this country when it comes to the
intelligence community.

Dennis Montgomery
619.508.1964

From: Dickas, J (Intelligence) [mailto:J_Dickas@ssci.senate.gov]
Sent: Tuesday, August 13, 2013 10:35 AM
To: Dennis
Subject: RE: CIA

Hi Mr. Montgomery,

If the CIA IG has not confirmed receipt of the information that you sent, the easiest thing to do might
be to have the caseworker from Sen. Cantwell's office contact them and ask them to confirm receipt of
the materials. If you need help getting in touch with them, just let me know.

John


From: Dennis [dennis@ncoder.net]
Sent: 12 August 2013 11:51
To: Dickas, J (Intelligence)
Subject: CIA

John,

I have no way know if the information I sent to the Inspector General of the CIA on 8/6/13 was
received. I have asked for some kind of confirmation from the Inspector General of the CIA that my
information was received by his office.

Dennis Montgomery
dennis@ncoder.net
619.508.1964
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page178
                                                                73 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page179
                                                                74 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page180
                                                                75 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page181
                                                                76 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page182
                                                                77 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page183
                                                                78 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page184
                                                                79 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page185
                                                                80 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page186
                                                                81 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page187
                                                                82 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page188
                                                                83 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page189
                                                                84 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page190
                                                                85 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page191
                                                                86 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page192
                                                                87 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page193
                                                                88 of 194
                                                                      89
Case
 Case3:06-cv-00056-MMD-CSD
      1:23-mc-00073-CKK-MAU Document 1216-2
                              Document 1-6 Filed 08/20/22
                                                 07/28/23 Page
                                                           Page194
                                                                89 of 194
                                                                      89
